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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

    CAO GROUP, INC.,

                 Plaintiff,                          Case No.: 1:24-cv-01211

          v.                                         Judge Thomas M. Durkin

    THE INDIVIDUALS, CORPORATIONS,                   Magistrate Judge Jeannice W. Appenteng
    LIMITED LIABILITY COMPANIES,
    PARTNERSHIPS, and                                JURY TRIAL DEMAND
    UNINCORPORATED ASSOCIATES
    IDENTIFIED ON SCHEDULE “A,”

                 Defendants.


                               DEFAULT JUDGMENT ORDER

         This action having been commenced by Plaintiff CAO Group, Inc. (“Plaintiff”) against the

defendants identified on Schedule A, and using the Online Marketplace Accounts identified on

Schedule A (collectively, the “Defendant Internet Stores”), and Plaintiff having moved for entry

of Default and Default Judgment against the defendants identified on Schedule A, with the

exception of Defendant Nos. 4) DEEPSOUND, 5) BYS Technology, 6) haiyi_mall, 7) wendydy,

8) GD-Whitening, 10) Carbonline, 21) IMOSTY Whitening US, 23) Moose Store, 25) Newage-

Store, 26) BLUE ELF, 27) Acupress, 32) tstarlight, 36) homefromgoods, 43) fairywill_global, 44)

beapoint, and 66) Fairywill,1 attached hereto which have not yet been dismissed from this case

(collectively, “Defaulting Defendants”);

         This Court having entered a preliminary injunction; Plaintiff having properly completed

service of process on Defaulting Defendants, the combination of providing notice via e-mail, along



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  The identified and excepted Defendants requested an extension of time to respond to Plaintiff’s
Verified Amended Complaint [19], with the exception of Defendant No. 8) GD-Whitening who
filed a Motion to Dismiss and for which a briefing schedule has been entered.
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with any notice that Defaulting Defendants received from online marketplaces and payment

processors, being notice reasonably calculated under all circumstances to apprise Defaulting

Defendants of the pendency of the action and affording them the opportunity to answer and present

their objections; and

       None of the Defaulting Defendants having answered or appeared in any way, and the time

for answering having expired, so that the allegations of the Complaint are uncontroverted and are

deemed admitted;

       This Court finds that it has personal jurisdiction over Defaulting Defendants because

Defaulting Defendants directly target their business activities toward consumers in the United

States, including Illinois. Specifically, Plaintiff has provided a basis to conclude that Defaulting

Defendants have targeted sales to Illinois residents by setting up and operating e-commerce

stores that target United States consumers using one or more seller aliases, offer shipping to the

United States, including Illinois, and have sold products that infringe upon Plaintiff’s federally

registered patents, as claim in in U.S. Patent Nos. 10,603,259 B2 (“the ‘259 Patent”); 10,646,419

B2 (“the ‘419 Patent”); and 11,219,582 B2 (“the ‘582 Patent”) (collectively, “Plaintiff’s

Patents”) to residents of Illinois. In this case, Plaintiff has presented screenshot evidence that

each Defendant e-commerce store is reaching out to do business with Illinois residents by

operating one or more commercial, interactive internet stores through which Illinois residents

can and do purchase products that infringe Plaintiff’s Patents. See Schedule A and Exhibit 3 to

the Verified Amended Complaint, Docket Nos. [19-1] and [19-6], which includes links and

product ID numbers for the subject storefronts and infringing products and screenshot evidence

confirming that each Defendant e-commerce store does stand ready, willing and able to ship its

infringing products to customers in Illinois; see also Exhibit 7 to the Verified Amended


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Complaint, Docket Nos. [20]-[21], which are claim charts outlining infringement by each

Defendant.

        This Court further finds that Defaulting Defendants are liable for willful patent

infringement on each of the three patent infringement claims (Counts I, II, and III) in Plaintiff’s

Verified Amended Complaint.

        Accordingly, this Court orders that Plaintiff’s Motion for Entry of Default and Default

Judgment is GRANTED as follows, that Defaulting Defendants are deemed in default, and that

this Default Judgment is entered against Defaulting Defendants.

        This Court further orders that:

1.      Defaulting Defendants, their officers, agents, servants, employees, attorneys, and all

        persons acting for, with, by, through, under, or in active concert with them be permanently

        enjoined and restrained from:

        a. Making, using offering for sale, selling, and/or importing into the United States for

             subsequent sale any products that infringe upon Plaintiff’s Patents or use of any product

             that infringes upon Plaintiff’s Patents in any manner in connection with the distribution,

             marketing, advertising, offering for sale, or sale of any product that is not a genuine

             Plaintiff product or not authorized by Plaintiff to be sold in connection with Plaintiff’s

             Patents;

        b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

             Plaintiff product or any other product produced by Plaintiff, that is not Plaintiff’s or not

             produced under the authorization, control, or supervision of Plaintiff and approved by

             Plaintiff for use of the inventions claimed in Plaintiff’s Patents;




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        c. committing any acts calculated to cause consumers to believe that Defaulting

           Defendants’ products are those sold under the authorization, control, or supervision of

           Plaintiff, or are sponsored by, approved by, or otherwise connected with Plaintiff and

           its rights in Plaintiff’s Patents; and

        d. manufacturing, shipping, delivering, holding for sale, transferring or otherwise moving,

           storing, distributing, returning, or otherwise disposing of, in any manner, products or

           inventory not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold or

           offered for sale, and which infringe upon the inventions claimed in Plaintiff’s Patents.

2.      Defaulting Defendants and any third party with actual notice of this Order who is providing

        services for any of the Defaulting Defendants, or in connection with any of the Defaulting

        Defendants’ Online Marketplaces, including, without limitation, any online marketplace

        platforms such as Amazon.com, Inc. (“Amazon”), eBay, Inc. (“eBay”), and Walmart, Inc.

        (“Walmart”), (collectively, the “Third Party Providers”), shall within seven (7) calendar

        days of receipt of this Order cease:

               a. using, linking to, transferring, selling, exercising control over, or otherwise

               owning the Online Marketplace Accounts, or any other online marketplace account

               that is being used to sell or is the means by which Defaulting Defendants could

               continue to sell goods that infringe upon Plaintiff’s Patents; and

               b. operating and/or hosting websites that are involved with the distribution,

               marketing, advertising, offering for sale, or sale of any product infringing Plaintiff’s

               Patents or any reproductions, copies or colorable imitations thereof that is not a

               genuine Plaintiff product or not authorized by Plaintiff to utilize the inventions

               claimed in Plaintiff’s Patents.


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3.      Upon Plaintiff’s request, those with notice of this Order, including the Third Party

        Providers as defined in Paragraph 2, shall within seven (7) calendar days after receipt of

        such notice, disable and cease displaying any advertisements used by or associated with

        Defaulting Defendants in connection with the sale of infringing goods using the inventions

        claimed in Plaintiff’s Patents.

4.      Pursuant to 35 U.S.C. § 284, Plaintiff is awarded damages equal to either a reasonable

        royalty or lost profits as follows:

        a. Plaintiff is awarded $50,000.00 as a reasonable royalty against any Defaulting

            Defendant who caused Plaintiff to lose $100,000.00 or less in lost profits;

        b. Plaintiff is awarded $500,000.00 as a reasonable royalty against any Defaulting

            Defendant who caused Plaintiff to lose equal to or between $100,000.00 and

            $500,000.00 in lost profits; and

        c. Based upon the Panduit factors, Plaintiff is awarded lost profits for any Defaulting

            Defendant who caused Plaintiff to lose more than $500,000.00 in lost profits.

            The amount awarded to Plaintiff from each of the Defaulting Defendants is listed

            below:




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          Award of $50,000.00                              Award of $500,000.00
 Def. #            Seller Alias             Def. #                   Seller Alias
 1         OETU Health                      13        Professional Seller Store
 2         Hest Store                       47        amormed1
 3         iLumes
 14        Na Li Wang                                    Damages for Lost Profits
 17        OETU Shop                        Def. #          Seller Alias           Award
 19        Maxlinking                       9         GD-TECH                 $23,590,677.44
 28        Whitening Teeth US               11        Waving Palms US           $2,397,166.60
 29        allwys                           15        Fashion Style US            $637,689.30
 30        hungeg                           16        Worldwise Enshi Trading $1,971,778.30
 31        eyalgavr_16                      22        WP for Teeth              $3,280,776.12
 33        koradado_0
 34        ori.or0
 37        cleanhealthc
 39        originalsite
 40        perficientworksltd
 42        davidson-75
 50        Joybuy Marketplace 1
 51        Joybuy Marketplace 2
 52        Joybuy Marketplace 3
 55        SQLEA Shop
 57        3C Boutiques
 59        Hahasong
 62        Trayknick


5.      Pursuant to 35 U.S.C. § 284, Defaulting Defendants are subject to treble damages and

        Plaintiff is awarded three times the amount awarded in both paragraphs 4.

6.      Pursuant to 35 U.S.C. § 284, Plaintiff is awarded expected transaction costs associated with

        the hypothetical negotiations and drafting of royalty and licensing agreements between it

        and the twenty-five (25) Defaulting Defendants against whom Plaintiff seeks a reasonable

        royalty. Plaintiff is awarded $50,000.00 in expected transaction costs, or $2,000.00 per

        Defaulting Defendant for which the judgment awarded to Plaintiff is a reasonable royalty.



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7.       Additionally, this case is held exceptional, and Plaintiff is awarded its reasonable attorney’s

         fees pursuant to 35 U.S.C. § 285. This Court finds that an award of $50,265.42 in attorneys’

         fees is reasonable, $1,675.51 per Defaulting Defendant, and therefore awards Plaintiff

         $50,265.42 in attorneys’ fees, $1,675.51 from each of the Defaulting Defendants.

8.       As a result of the damages awarded to Plaintiff in paragraphs 4 through 7 of this Order, the

         total awarded to the Plaintiff from each of the Defaulting Defendants is as follows:


          Award of $153,675.512                     Award of $1,503,675.513 per Defendant
              per Defendant
    Def. #          Seller Alias              Def. #                   Seller Alias
    1       OETU Health                       13        Professional Seller Store
    2       Hest Store                        47        amormed1
    3       iLumes
    14      Na Li Wang                                     Damages for Lost Profits4
    17      OETU Shop                         Def. #          Seller Alias           Award
    19      Maxlinking                        9         GD-TECH                  $70,773,707.83
    28      Whitening Teeth US                11        Waving Palms US           $7,193,175.31
    29      allwys                            15        Fashion Style US          $1,914,743.41
    30      hungeg                            16        Worldwise Enshi Trading $5,917,010.41
    31      eyalgavr_16                       22        WP for Teeth              $9,844,003.87
    33      koradado_0
    34      ori.or0
    37      cleanhealthc
    39      originalsite
    40      perficientworksltd
    42      davidson-75
    50      Joybuy Marketplace 1
    51      Joybuy Marketplace 2
    52      Joybuy Marketplace 3
    55      SQLEA Shop
    57      3C Boutiques
    59      Hahasong
    62      Trayknick

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  Based upon $50,000.00 reasonable royalty award, trebled to three times the awarded amount, in addition
to the expected transaction cost of $2,000.00 and attorneys’ fees of $1,675.51.
3
  Based upon $500,000.00 reasonable royalty award, trebled by three times the awarded amount, in addition
to the expected transaction cost of $2,000.00 and attorneys’ fees of $1,675.51.
4
  Based upon award of lost profits trebled by three times the awarded amount and added with attorneys’
fees of $1,675.51.
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9.       Any Third Party Providers holding funds for Defaulting Defendants, including Amazon

         Pay, eBay, PayPal, Inc. (“PayPal”), Payoneer Global, Inc. (“Payoneer”), and Walmart,

         shall, within seven (7) calendar days of receipt of this Order, permanently restrain and

         enjoin any accounts connected to Defaulting Defendants or the Defendant Internet Stores

         from transferring or disposing of any funds (up to the total damages and attorneys’ fees

         awarded in Paragraph 4 through 8 above) or other of Defaulting Defendants’ assets.

10.      All monies (up to the total damages and attorneys’ fees awarded in Paragraph 4 through 8

         above) currently restrained in Defaulting Defendants’ financial accounts, including monies

         held by Third Party Providers such as Amazon Pay, eBay, PayPal, Payoneer, and Walmart,

         are hereby released to Plaintiff as partial payment of the above-identified damages, and

         Third Party Providers, including Amazon Pay, eBay, PayPal, Payoneer, and Walmart, are

         ordered to release to Plaintiff the amounts from Defaulting Defendants’ financial accounts

         within fourteen (14) calendar days of receipt of this Order.

11.      Until Plaintiff has recovered full payment of monies owed to it by any Defaulting

         Defendant, Plaintiff shall have the ongoing authority to commence supplemental

         proceedings under Federal Rule of Civil Procedure 69.

12.      In the event that Plaintiff identifies any additional online marketplace accounts or financial

         accounts owned by Defaulting Defendants, Plaintiff may send notice of any supplemental

         proceeding, including a citation to discover assets, to Defaulting Defendants by e-mail at

         the e-mail addresses identified in Exhibit 3 to Verified Amended Complaint and any e-mail

         addresses provided for Defaulting Defendants by third parties.




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13.      To obtain release of the bond previously posted in this action, Plaintiff’s counsel must file

         a motion for the return of the bond once the preliminary injunction no longer applies to any

         Defendant.


This is a Default Judgment.

Dated: June 12, 2024




                                               Thomas M. Durkin
                                               United States District Judge




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                                       Schedule A

Def. #  Merchant Alias            Merchant ID                         Product Link
     1 OETU Health            A3SX8HHJNIP5W            https://www.amazon.com/teeth-
                                                       whitening-strip-whitener-
                                                       sensitive/dp/b0c6snbyn8
    2 Hest Store              A2GK6UQVB6PMXJ           https://www.amazon.com/whitening-
                                                       professional-effects-sensitive-
                                                       effective/dp/b0c5tt3gr5
    3 iLumes                  A25KLU21XFHXMG           https://www.amazon.com/whitening-
                                                       professional-treatments-effective-
                                                       sensitivity/dp/b0c2lcy4qc
    4   EXCEPTED              EXCEPTED                 EXCEPTED
    5   EXCEPTED              EXCEPTED                 EXCEPTED
    6   EXCEPTED              EXCEPTED                 EXCEPTED
    7   EXCEPTED              EXCEPTED                 EXCEPTED
    8   EXCEPTED              EXCEPTED                 EXCEPTED
    9   GD-TECH               A14XNBNVEVKNB6           https://www.amazon.com/dp/b09961bn4z
                                                       https://www.amazon.com/dp/b0b5xd7k41
   10   EXCEPTED              EXCEPTED                 EXCEPTED
   11   Waving Palms US       A19AXZUEL9NEZG           https://www.amazon.com/dp/b0bb22nf67
   12   REMOVED               REMOVED                  REMOVED
   13   Professional Seller   A3GK96Q44Q9I8U           https://www.amazon.com/dp/b09x17h3wn
        Store                                          https://www.amazon.com/pdoo-teeth-
                                                       whitening-strip-non-
                                                       sensitive/dp/b0blmrs629
   14 Na Li Wang              A1KGBKFX15NMC9           https://www.amazon.com/teeth-
                                                       whitening-strips-strip-
                                                       count/dp/b0cjfmr575
   15 Fashion Style US        A1HKS8RWHE3UFI           https://www.amazon.com/dp/b09x17h3wn
   16 Worldwise Enshi         A36Z1YNG01JQZR           https://www.amazon.com/whitening-
      Trading                                          whitening-sensitivity-treatments-
                                                       professional/dp/b0c9ynbhmb
   17 OETU Shop               A3OL3BIIFAPHDJ           https://www.amazon.com/teeth-
                                                       whitening-strip-whitener-
                                                       sensitive/dp/b0c6snbyn8
   18 REMOVED                 REMOVED                  REMOVED

   19 Maxlinking              ARJDAZ7IB84U0            https://www.amazon.com/advanced-
                                                       whitening-sensitive-professional-
                                                       treatment/dp/b08nsymdr4
   20 REMOVED                 REMOVED                  REMOVED
   21 EXCEPTED                EXCEPTED                 EXCEPTED
                                           10
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Def. #  Merchant Alias          Merchant ID                         Product Link
    22 WP for Teeth          A2Y8ERKENXMQFH           https://www.amazon.com/dp/b0bb22nf67
                                                      https://www.amazon.com/whitening-
                                                      whitening-sensitivity-treatments-
                                                      professional/dp/b0c9ynbhmb
   23   EXCEPTED             EXCEPTED                 EXCEPTED
   24   REMOVED              REMOVED                  REMOVED
   25   EXCEPTED             EXCEPTED                 EXCEPTED
   26   EXCEPTED             EXCEPTED                 EXCEPTED
   27   EXCEPTED             EXCEPTED                 EXCEPTED
   28   Whitening Teeth      A35OLTUZRMFSY            https://www.amazon.com/pdoo-teeth-
        US                                            whitening-strip-non-
                                                      sensitive/dp/b0blmrs629
   29   allwys               allwys                   https://www.ebay.com/itm/386297165463
   30   hungeg               hungeg                   https://www.ebay.com/itm/335115077189
   31   eyalgavr_16          eyalgavr_16              https://www.ebay.com/itm/355180090567
   32   EXCEPTED             EXCEPTED                 EXCEPTED
   33   koradado_0           koradado_0               https://www.ebay.com/itm/355187731568
   34   ori.or0              ori.or0                  https://www.ebay.com/itm/325869707636
   35   REMOVED              REMOVED                  REMOVED
   36   EXCEPTED             EXCEPTED                 EXCEPTED
   37   cleanhealthc         cleanhealthc             https://www.ebay.com/itm/394749327871
   38   REMOVED              REMOVED                  REMOVED
   39   originalsite         originalsite             https://www.ebay.com/itm/394981995220
   40   perficientworksltd   perficientworksltd       https://www.ebay.com/itm/394902054330
   41   REMOVED              REMOVED                  REMOVED
   42   davidson-75          davidson-75              https://www.ebay.com/itm/364571389001
   43   EXCEPTED             EXCEPTED                 EXCEPTED
   44   EXCEPTED             EXCEPTED                 EXCEPTED
   45   DISMISSED            DISMISSED                DISMISSED
   46   DISMISSED            DISMISSED                DISMISSED
   47   amormed1             amormed1                 https://www.ebay.com/itm/384041387729
   48   DISMISSED            DISMISSED                DISMISSED
   49   DISMISSED                         DISMISSED DISMISSED
   50   Joybuy                                  18988 https://www.walmart.com/ip/toyfunnuy-
        Marketplace 1                                 stain-removal-advanced-teeth-whitening-
                                                      strips-double-elastic-gel-oral-
                                                      health/510299237
   51 Joybuy                                          https://www.walmart.com/ip/stain-
      Marketplace 2                                   removal-advanced-teeth-whitening-strips-
                                                      double-elastic-gel-oral-
                                                      health/2705066244


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Def. #  Merchant Alias       Merchant ID                       Product Link
    52 Joybuy                                    https://www.walmart.com/ip/stain-
       Marketplace 3                             removal-advanced-teeth-whitening-strips-
                                                 double-elastic-gel-oral-health/374875184
   53 DISMISSED          DISMISSED               DISMISSED




   54 REMOVED            REMOVED               REMOVED
   55 SQLEA Shop                     101129187 https://www.walmart.com/ip/teeth-
                                               whitening-strips-oral-care-white-strips-
                                               teeth-whitening-kit-non-sensitive-teeth-
                                               whitener-for-tooth-whitening/931134401
   56 DISMISSED                   DISMISSED DISMISSED
   57 3C Boutiques                 101331983 https://www.walmart.com/ip/smilekit-
                                             pap-teeth-whitening-strips-28-white-
                                             strips-kit-14-sets-whitener-tooth-
                                             whitening-remove-the-smoking-coffee-
                                             soda-wine-stain/2878979180
                                             https://www.walmart.com/ip/smilekit-
                                             pap-teeth-whitening-strips-14-white-
                                             strips-kit-7-sets-whitener-tooth-
                                             whitening-remove-the-smoking-coffee-
                                             soda-wine-stain/1593509111
   58 DISMISSED                   DISMISSED DISMISSED
   59 Hahasong                     101291750 https://www.walmart.com/ip/7pcs-14pcs-
                                             tooth-whitening-strip-simple-operation-
                                             non-irritating-portable-teeth-care-
                                             whitening-strips-for-travel/3906218385
   60 REMOVED                      REMOVED REMOVED
   61 REMOVED                      REMOVED REMOVED
   62 Trayknick                     101115714 https://www.walmart.com/ip/7pcs-14pcs-
                                              tooth-whitening-strip-simple-operation-
                                              non-irritating-portable-teeth-care-
                                              whitening-strips-for-travel/3906218385
   63   REMOVED                   REMOVED        REMOVED
   64   DISMISSED                 DISMISSED      DISMISSED
   65   DISMISSED                 DISMISSED      DISMISSED
   66   EXCEPTED                  EXCEPTED       EXCEPTED




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